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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division


 ANNA ANDIN BENDER,


       Plaintiff,



 V.                                     Civil Action No. l:18-cv-76



 JEFFERSON B. SESSIONS, III
       Attorney General,

       Defendant.


                             MEMORANDUM OPINION



       THIS MATTER comes before the Court on Defendant's Motion for


 Summary Judgment pursuant to Federal Rule of Civil Procedure 56.

       Plaintiff Ann Bender was an employee of a private corporation

 SAVA as an     IT    Specialist that provided information technology

 professionals to work at the Terrorist Screening Center (^"TSC"),

 a facility administered by the Federal Bureau of Investigation

 ("FBI"). She identities as a          Pentecostal Christian. TSC has a

 significant national security role and must be fully operational

 at all times. On September 16, 2013, SAVA assigned Plaintiff to

 the TSC as a "Shift Lead." Plaintiff's typical schedule had her

 working the overnight shift between 11:00 p.m. and 8:00 a.m. Monday

 through    Friday.    Because   TSC   required   24-hour-a-day   operation,

 employees were required to work on the weekends and occasionally

  Plaintiff did so.
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